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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


 JONATHAN DRUMMOND,

       Plaintiff,

 vs.                                            Case No. 6:25-CV-12-JSS-RMN

 ANYTIME FITNESS FRANCHISOR,
 LLC,

       Defendant.



                       JOINT NOTICE OF SETTLEMENT

       Plaintiff,   JONATHAN        DRUMMOND           (“Plaintiff”)   and   Defendant,

 ANYTIME FITNESS FRANCHISOR, LLC (“Defendant”) (Plaintiff and Defendant

 are collectively referred to as the “Parties”), hereby jointly notify the Court that the

 Parties have reached a settlement that resolves all claims that were or could have

 been brought in this action and are in the process of executing the settlement

 agreement. The Parties request that the Court stay all matters and pending deadlines

 in this action and grant the Parties thirty (30) days to execute the settlement and

 submit a stipulation of dismissal of the action to the Court.



       Jointly submitted this 10th day of March, 2025.
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 Aleksandra Kravets                           Aaron Blynn
 Florida Bar No.: 120562                      Florida Bar No.: 073464


                          CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 10th day of March 2025, I

 electronically filed the foregoing document with the Clerk of the Court using

 CM/ECF which will send notification of such filing to all parties.



                                       By: /s/ Aleksandra Kravets
                                       Aleksandra Kravets
                                       Florida Bar No.: 120562




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